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Andrew Vallee

From:                           Josh DeVine
Sent:                           Tuesday, April 27, 2021 12:55 PM
To:                             David Rausch; Brad Nealon; Joshua J. Melton; Russ Winkler; Joe Craig; Andrew Vallee
Cc:                             Jeanne Broadwell; Susan Niland
Subject:                        FYI


Wanted to make you aware of this…
https://horwitz.law/wp-content/uploads/Complaint-of-Joshua-Garton-and-Exhibits-1-4.pdf




Josh DeVine | Communications Director
Tennessee Bureau of Investigation
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